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                                     MAGISTRATE JUDGE'S MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
 U.S. Magistrate Judge: Deborah M. Fine              Date: December 21, 2021
 USA v. David Allen Harbour                          Case Number: CR-19-00898-001-PHX-DLR

 Assistant U.S. Attorney: Kevin M. Rapp and Coleen Schoch
 Attorney for Defendant: Ashley Adams, Retained
 Interpreter: N/A
 Defendant: ☒ Present, appearing telephonically        ☒ Custody


 MOTION HEARING AND INITIAL APPEARANCE ON UNITED STATES'
 SUPPLEMENTAL PETITION TO REVOKE DEFENDANT'S RELEASE PENDING TRIAL
 (DOC. 290):

2:41 p.m. Sealed ex parte discussion held between defense counsel, Defendant and the Court. 2:54 p.m.
Sealed portion ends.

2:59 p.m. Court resumes. All parties present. The Court finds that the Defendant consents to proceed
with this hearing by audio-teleconference after consultation with counsel. The Court further finds it is
in the interests of justice to proceed in this manner for the safety of all participants during the
pandemic. IT IS ORDERED granting Defendant's Ex Parte Motion to Withdraw as Counsel (Doc.
289). The Court advises victims and the public on proper procedures to follow in the future if they
wish to listen in to court proceedings.

As to Defendant's Motion to Continue Revocation Hearing (Doc. 287), IT IS ORDERED granting
Defendant's Motion to Continue. The Pretrial Release Revocation Hearing and Detention Hearing are
reset to December 29, 2021 at 1:00 p.m. before this Court, courtroom 304. Counsel shall provide
their exhibits, exhibit lists and witness lists to the Courtroom Deputy no later than close of business on
December 27, 2021.

For the reasons stated on the record, IT IS ORDERED denying Defendant's Motion for Leave to File
Exhibits to Response to United States' Petition to Revoke (Doc. 274). IT IS FURTHER ORDERED
denying Government's Motion to Seal Exhibit A (Doc. 291). Discussion held as to Defendant's Motion
to File Certain Exhibit Ex Parte (Doc. 283). IT IS ORDERED denying Motion to File Certain
Exhibits Ex Parte (Doc. 283) without prejudice to defense counsel re-urging the motion at a later time.

THE COURT FINDS sufficient cause to proceed on United States' Supplemental Petition to Revoke
Defendant's Release Pending Trial (Doc. 290). Initial Appearance held.

 Recorded By Courtsmart                                                            Mtn 1hr17m
 Deputy Clerk Molly Frasher                                                        Start: 2:41 pm
                                                                                   Stop: 3:58 pm
